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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION


UNITED STATES OF AMERICA,               )
                                        )   CASE NO. 2:21cr22-LGW-BWC
V.                                      )
                                        )
GREGORY McMICHAEL,                      )
                                        )
      Defendant.                        )
_______________________________         )


                              NOTICE OF APPEAL


       Notice is hereby given that GREGORY McMICHAEL, Defendant in the above-
captioned case, hereby appeals his conviction and sentence to the United States Court
of Appeals for the Eleventh Circuit from the Order of Judgment entered against him
on August 18, 2022. This Notice is timely filed in accordance with Fed. R. App. P.
4(b)(1)(A).
       Respectfully submitted this 21st day of August, 2022.


                                        BALBO & GREGG
                                        ATTORNEYS AT LAW, P.C.
                                        Attorneys to Gregory McMichael


                                        /s A. J. Balbo
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                              CERTIFICATE OF SERVICE


       This is to certify that I have this day served all the parties in this case in

accordance with the directives of the Court Notice of Electronic Filing (“NEF”), which

was generated as a result of electronic filing.

       Respectfully submitted this 21st day of August, 2022.


                                          BALBO & GREGG
                                          ATTORNEYS AT LAW, P.C.
                                          Attorneys to Gregory McMichael



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United States v. Gregory McMichael
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Notice of Appeal
